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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

       v.                                             Criminal No. 22-cr-329 (TJK)

JEREMY BERTINO,

                       Defendant.


                                  STA TEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure I I, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Jeremy Bettino, with the concurrence of his attorney, agree and stipulate to the below factual basis

for the defendant's guilty plea. If this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt.

                                            Background

        I.     The Proud Boys describes itself as a "pro-Western fraternal organization for men

who refuse to apologize for creating the modem world; aka Western Chauvinists." Throughout the

United States, there are local Proud Boys chapters, which are typically led by chapter "presidents."

Each chapter has a degree of autonomy.

       2.      Bertino joined the Proud Boys in approximately 20 I 8 and was, for a time, the vice-

president of his local Proud Boy chapter in South Carolina. As of January 6, 2021, Bertino was a

fourth-degree member of the Proud Boys, the highest "rank" within the Proud Boys.

        3.     On multiple occasions in 2020, Bertino traveled to Washington, D.C., for rallies as

a member of the Proud Boys. Among other times, Bertino traveled to Washington, D.C., as a

member of the Proud Boys for an election-related rally on December 12, 2020.
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